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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


  Civil Action No. 1:19-cv-2502


  MARY BENSON,

  Plaintiff,

  v.

  STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY,

  Defendant.

  ______________________________________________________________________

     DEFENDANT’S AMENDED MOTION TO MODIFY THE SCHEDULING ORDER
  ______________________________________________________________________

            Defendant State Farm Mutual Automobile Insurance Company (“State Farm”), by

  and through its counsel, Messner Reeves LLP, pursuant to D.C.COLO.LCivR 6.1 hereby

  submits its Motion to Modify the Scheduling Order. In support thereof, defendant states

  as follows:

                           D.C.COLO.LCivR 7.1(a) Certification of Conferral

            Counsel for the defendant certifies she has conferred with counsel for the plaintiff

  regarding the contents and basis of this Motion. This Motion is unopposed.

  1.        D.C.COLO.LCivR 6.1(c) Certification: A copy of this Motion is being served upon

            defendant by its counsel and upon plaintiff by her counsel.

  2.        The Scheduling Order, Document No. 17, was entered on November 19, 2019,

            giving a deadline of June 29, 2020 for the discovery cut-off and for 702 motions.



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  3.    The parties have been making efforts to schedule multiple depositions including

        plaintiff’s expert and defendant’s 30(b)(6).

  4.    The parties have been diligently working toward moving this case forward but

        delays due to COVID-19 have presented difficulties in scheduling.

  5.    In light of the foregoing, the parties request an extension of Scheduling Order

        deadlines as follows:

               a. Discovery cut-off: July 29, 2020

               b. 702 motions: July 29, 2020


        WHEREFORE the Parties request a Modification of the Scheduling Order

  deadlines as set forth above and such other and further relief as this Court deems

  necessary and just.


        DATED: June 29, 2020.

                                                     MESSNER REEVES LLP

                                                     /s/ Tamara C. Jordan
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                                                     Nathaniel Scott Barker
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                                CERTIFICATE OF SERVICE

         I hereby certify that on June 29, 2020, the foregoing MOTION TO MODIFY THE
  SCHEDULING ORDER was filed via the ECF filing system, which caused electronic
  service to be made on the following:

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